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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF TEXAS

Synergy Drone, LLC and
Drone-Control, LLC                               Civil Action No. 1:17-cv-00242-LY

               Plaintiffs,
                                                 The Honorable Judge Lee Yeakel
v.
SZ DJI Technology Co., Ltd.,
DJI Europe B.V., and                             JURY TRIAL DEMANDED
DJI Technology, Inc.,

               Defendants.



                        JOINT MOTION TO DISMISS WITH PREJUDICE

       Plaintiffs Synergy Drone, LLC and Drone-Control, LLC, and Defendants SZ DJI

Technology Co., Ltd., DJI Europe B.V., and DJI Technology, Inc., pursuant to Fed. R. Civ. P. 41(a)

hereby move for an order dismissing all claims asserted by Synergy Drone, LLC and Drone-

Control, LLC and all counterclaims asserted by Defendants SZ DJI Technology Co., Ltd., DJI

Europe B.V., and DJI Technology, Inc. in this action WITH PREJUDICE, with each party to bear

its own costs, expenses, and attorney’s fees.
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Dated: August 4, 2020                         Respectfully submitted,

                                              /s/ George T. Lyons, III
                                              Grantland G. Drutchas
                                              Marcus J. Thymian
                                              George T. Lyons, III
                                              McDonnell Boehnen Hulbert
                                               & Berghoff LLP
                                              300 South Wacker Drive
                                              Chicago, Illinois 60606
                                              Tel.: (312) 913-0001
                                              Attorneys for Plaintiffs Drone-Control, LLC
                                              and Synergy Drone, LLC

                                              /s/ Kevin D. Collins
                                              Kevin D. Collins
                                              BRACEWELL LLP
                                              111 Congress Avenue, Suite 2300
                                              Austin, Texas 78701
                                              Telephone: (512) 494-3640
                                              kevin.collins@bracewell.com

                                              Qingyu Yin
                                              J. Michael Jakes
                                              Christopher T. Blackford
                                              Kelly C. Lu
                                              Finnegan, Henderson, Farabow,
                                               Garrett, & Dunner L.L.P.
                                              901 New York Avenue, N.W.
                                              Washington, DC 20001-4413
                                              Telephone: (202) 408-4000
                                              Facsimile: (202) 408-4400
                                              qingyu.yin@finnegan.com
                                              michael.jakes@finnegan.com
                                              christopher.blackford@finnegan.com
                                              kelly.lu@finnegan.com

                                              Benjamin R. Schlesinger
                                              Finnegan, Henderson, Farabow,
                                               Garrett, & Dunner L.L.P.
                                              271 17th Street, NW
                                              Suite 1400
                                              Atlanta, GA 30363-6209
                                              Telephone: (404) 653-6400
                                              Facsimile: (404) 653-6444
                                              benjamin.schlesinger@finnegan.com
                                              Attorneys for Defendants SZ DJI Technology Co.,
                                              Ltd., DJI Europe B.V., and DJI Technology, Inc.
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                                   CERTIFICATE OF SERVICE
       The undersigned hereby certifies that counsel of record who are deemed to have consented to
electronic service are being served today, August 4, 2020, with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(b)(1).
                                                   /s/ George T. Lyons, III
                                                   George T. Lyons, III
